      Case 1:14-cv-07694-LJL-JLC Document 248 Filed 04/08/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
YIEN-KOO KING,
                                  Plaintiff,
             -against-                                            1:14-Civ-07694-(LJL) (JLC)
ANDREW WANG, SHOU-KUNG WANG, BAO WU
TANG, JIAN BAO GALLERY, ANTHONY CHOU,
CHEN-MEI LIN, WEI ZHENG, YE YONG-QING, YUE
DA-JIN and JOHN DOES 1-9,
                                  Defendants.



                       NOTICE OF PLAINTIFF’S MOTION
                     FOR FED. R. CIV. P. RULE 37 SANCTIONS

      PLEASE TAKE NOTICE, that plaintiff Yien-Koo Wang King (the “Plaintiff”), by

and through her undersigned counsel, shall move this Court, before the Honorable

Lewis J. Liman, at a date and time to be set by the Court, at the United States

Courthouse located at 500 Pearl Street, Courtroom 15C, New York, New York, upon the

accompanying Memorandum of Law in Support of Motion for Fed. R. Civ. P. Rule 37

Sanctions, dated April 8, 2021, and the Declaration of Timothy Savitsky in Support of

Motion, dated April 8, 2021, and the exhibits thereto, and upon all prior pleadings and

proceedings herein, for an order pursuant to Fed. R. Civ. P. Rules 37 (b) and (c) striking

the affirmative defenses of Defendants Andrew Wang and Shou-Kung Wang to the

Plaintiff’s First Amended Complaint and issuing adverse inference jury instructions

against the Wangs for their non-production/disclosure of evidence relating to certain of

their corporations, their corporate accounts, their corporate accountant, and the Shou-
      Case 1:14-cv-07694-LJL-JLC Document 248 Filed 04/08/21 Page 2 of 2




Kung Wang Irrevocable Trust. The Plaintiff will also seek to recover the costs and fees

associated with this motion and the Defendants’ failure to produce records in

accordance with Fed. R. Civ. P. Rules 36(b)(2)C) and 36(c)(1)(A).

      Dated: New York, New York
            April 8, 2021
                                         By: /s/Timothy Savitsky
                                         SAM P. ISRAEL, P.C.
                                         Sam P. Israel (SPI0270)
                                         Timothy Savitsky (TS6683)
                                         180 Maiden Lane, 6th Floor
                                         New York, New York 10006
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                                         Counsel for Plaintiff Yien-Koo King




To:   All parties of record via ECF




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